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                                      ORDERED.
 Dated: March 14, 2025




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

IN RE:
                                                    CASE NO.: 6:24-bk-05516-LVV
Vernita Morris                                      Chapter 13

Debtor.
____________________________
                     ORDER SUSTAINING OBJECTION TO
                  CLAIM (#10) FILED BY LVNV FUNDING, LLC

       THIS CASE came on for consideration of the Objection to Claim (#10) Filed by LVNV
Funding, LLC (Doc. No. 23) filed pursuant to the negative notice provisions of Local Rule 2002-
4. The Court, considering the Objection and the absence of any record objection to the relief
requested in the Objection by any party in interest, deems the Objection to be uncontested.

Accordingly, it is ORDERED:

   1. Debtor's Objection to Claim (#10) filed by LVNV Funding, LLC is sustained.

   2. LVNV Funding, LLC's Claim (#10) is disallowed as the claim is time-barred.
Attorney Ronnald Mejia is directed to serve a copy of this order on interested parties who are
non CM/ECF users and file a proof of service within 3 day of entry of this order.
